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            EXHIBIT G
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 DISTRICT COURT, DENVER, COLORADO
 1437 Bannock St.                                                                  DATE FILED: February 21, 2013
 Denver, CO 80202




 Plaintiffs:
                                                                      COURT USE ONLY
 RICHARD HUGGINS and TERI HUGGINS
                                                                 Case Number: 12CV40
 V.
                                                                 Courtroom: 376
 Defendants:

 MEDTRONIC, INC., a Minnesota corporation,
 MEDTRONIC SOFAMOR DANEK USA, INC., a
 Tennessee corporation, GEORGE FREY, M.D., an
 individual and DOES 1 through 10


  COURT'S ORDER RE: DEFENDANTS' MOTION TO DISMISS AND REQUEST FOR
                          ORAL ARGUMENT


       This matter is before the Court pursuant to Defendants Medtronic Inc.'s and Medtronic
Sofamor Danek USA, Inc.'s (collectively "Medtronic") Motion to Dismiss and Request for Oral
Argument, filed August28, 2012. The Court having reviewed the Motion, the file and being fully
advised Finds and Orders as follows:

       I.       Background

       Plaintiffs allege Richard Huggins was injured following a spinal surgery because the doctor
used Medtronic's liquid bone protein ("rhBMP-2") without a Medtronic LT-Cage. Plaintiffs allege
the FDA did not approve Medtronic's rhBMP-2 component without an LT-Cage and Medtronic
negligently and unlawfully promoted the rhBMP-2 component for off-label use without the required
LT-Cage. Plaintiffs also allege Medtronic misrepresented the safety of rhBMP-2, which was not
approved by the FDA, and failed to warn about the risks of its use. Plaintiffs seek to impose liability
on Medtronic based on violations of "applicable FDCA and FDA regulations." Compl. 1f1f 96.

        Medtronic alleges Plaintiff's state tort claims are expressly and implicitly preempted by
federal law under 21 U.S.C. § 360k(a) and/or prohibited by the Food, Drug and Cosmetic Act
("FDCA") under 21 U.S.C. § 337(a). Medtronic also alleges Plaintiffs' fraud claims are not pleaded
with sufficient particularity.




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       II.     Standard of Review

       In assessing a C.R.C.P. 12(b) motion, a court must accept all matters of material fact in the
complaint as true and view the allegations in the light most favorable to the plaintiff and may grant
the motion only if the plaintiffs factual allegations cannot support a claim as a matter of law.
Asphalt Specialties, Co. v. City of Commerce City, 218 P.3d 741 (Colo. App. 2009).

       A complaint need not express a complete recitation of all facts that support the claim, but
need only serve notice of the claim asserted. Elliott v. Colo. Dep't of Corr., 865 P.2d 859, 861
(Colo App. 1993). C.R.C.P. 9(b) only requires that claims identify circumstances constituting
fraud. State ex rei. Suthers v. Mandatory Poster Agency, Inc., 260 P.3d 9, 13 (Colo. App. 2009).

        State tort claims are preempted when they would impose any requirement that is "different
from" or "in addition to" those imposed through the Premarket Approval process. Riegel v.
Medtronic, Inc., 552 U.S. 312, 327-28 (2008)(citing 21 U.S.C. § 360k(a)). Thus, § 360 does not
prevent a State from providing a damages remedy for claims premised on a violation of FDA
regulations; the state duties in such case "parallel," rather than add to, federal requirements. /d. at
330; Bausch v. Stryker Corp., 630 F.3d 546,558 (ih Cir. 2010).

       "The FDCA leaves no doubt that it is the Federal Government rather than private litigants
who are authorized to file suit for noncompliance with the medical devise provisions" of federal
law. Buckman Co. v. Plaintiffs' Legal Comm., 531 U.S. 341,349 (2001)(citing 21 U.S.C. § 337(a)).

       III.    Conclusions of Law

        The Court finds Plaintiffs allege sufficient facts to withstand C.R.C.P. 12(b) analysis.
Plaintiffs' claims against Medtronic are not expressly or impliedly preempted by federal law as they
are premised on conduct that allegedly violates "applicable FDCA and FDA regulations" and thus
parallels federal requirements. Because Plaintiffs' fraud claims identify sufficient facts supporting
each claim, the Court finds the claims are plead with sufficient particularity.

       Accordingly, Medtronic's Motion to Dismiss and Request for Hearing is DENIED.

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DATED this ~I .day of February 2013


                                              BY THE COURT:


                                                ,~t ~ik (J, Sl4 u.-
                                              Herbert L. Stern, III
                                              District Court Judge


CC:     Counsel of Record bye-filing


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